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          EXHIBIT D
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                                                       jQJ;;'.Qi C; V1L
                                  EMPLOYMENT CONTRACI FOR
                                  Eb1.eLOTh1-E~lc.Qj):I.Mg                   41-W,SENTATION
                                                                    Yll..-~Y~.S~IjB~rIQ"b;'
                                           CONTINGENT
                                           CONTL'rG£NT ~ w:Ql<      NTEYS
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                                                                                 Fg:E.

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                                                                                                                                    -, /
       THJSA
       THIS     GREflvfE.i\TT is
             AGREEMENT        is made and entered into
                                                    into this
                                                         this _
                                                              -~ L da) of        f cbrualy 2004,
                                                                              of Febn.iary            alld betweenfaliepotyin
                                                                                             2004" by and  berween q&lie~ot;llin
       iJ1dividually and
       individually  and on
                         on behalf
                             behalf of
                                     of the
                                        the Estate
                                            Estate of
                                                   ofYael          i~ her(
                                                            BO1\ in,
                                                      Yael Boi               inaftcr referred
                                                                        hert inafter            to as Client" and (1)
                                                                                      rctcrred to     Client,      ( 1) Heldman
                                                                                                                         Hetden1'an
       LezeJJ  Nudelman    {~ Kalik,
       Lezell Nudelman & Kalik, P.C., P.C.) (2)
                                            (2) The
                                                The  Perles  Lay)
                                                             L'i.lv' Fit-m~
                                                                     Finn,   P.C.   and  (3)
                                                                                         (3)  Russell
                                                                                              Russell E.  Ellis,
                                                                                                          Ellis, Esq.  hereinafter
                                                                                                                       hereinafter
       collectively referred to as " Attorneys" or
                                                 or "the
                                                    "the Attoril,.ty".
                                                         .~ton I'~y')-Th.Th : Client
                                                                               Client hereby
                                                                                       hereby employs,
                                                                                               employs) engages,
                                                                                                         engages)and
                                                                                                                   and retains
                                                                                                                          retains thethe
       collectively referred to as "Attorneys"
       Attorney to
       Attorney   to represent
                     represent her
                               her in
                                   in a claim
                                        claim for
                                              for damages re!il :ting frc
                                                           rest :ting, fr( in
                                                                            111
                                                                              thc suicide
                                                                              the         bomblllg at the Ben Yehuda Street
                                                                                  suicide bombing
       Mall  in JerusaIern" Israel
       Mall in Jerusalem, Israel onon  September
                                      September    4,
                                                   4, 1997
                                                      1997 tha   killed
                                                                 killed  .\
                                                                         1  ael Botvin.
                                                                                Bot..'in.

       Payment for
       Payment      for services
                         services rendered
                                     rendered by the AttorneysAttorneys to  to he  he ClitClit at  rlt shall be done in the   tile following
                                                                                                                                    following manner:
                                                                                                                                                  manner The
       amount     :finally  recovered
       amount finally recovered             shall be   disbursed     forty   (.  ~
                                                       disbursed forty )%) pe -cent)%~)     p(:'   .cent  to
                                                                                                           to  the   Attorneys
                                                                                                                     Attorneys     as   attorney's
                                                                                                                                        attorney's   fees, or as
                                                                                                                                                              as
       otherwise limited
       otherwise     limited and/or
                               and/ or subject
                                          subj ect to
                                                    to court
                                                        court oror adminisi
                                                                    adminisl r ative
                                                                                   ~tiv-e~ ency approval, approval, as may be required required under state or
       federal   law.    From    the  remaining
       federal law. From the remaining of             of  such   monies,
                                                                 monies,    aft
                                                                           afi   \r
                                                                                 r r   :fi:rst
                                                                                       first   [
                                                                                               c   ~ducting
                                                                                                   educting     said   attorney's
                                                                                                                       attorney's    fees,  the
                                                                                                                                            the attorneys,
                                                                                                                                                 attorneys, the
       client, and/or
       client,  and/or anyany third
                                third parties     who may
                                         parties who                    adval L';ed exp
                                                           may have advalo;ed              exl) !uses,
                                                                                                   ~nses,or  or who
                                                                                                                 who maymay be owed         expefJSesor costs
                                                                                                                                   owed expenses
       incurred     during
       incurred during        the
                             the   course
                                   course      of
                                               of the
                                                  the    representation
                                                         representation      Sll.
                                                                             si    ill
                                                                                 i.tll   be   r..
                                                                                              r,   imbursed
                                                                                                   ,imbursed       thereby
                                                                                                                   thereby   reaching
                                                                                                                             reaching      a  net distributable
                                                                                                                                                  distributable
       31nount.      The   reInaiIring     net  distributable
       amount. The remaining net distributable amount,             amount,     : L ter
                                                                               ;:.'ter     all     :osts
                                                                                                   ;osts   and   attorney's
                                                                                                                 attorney's     fees,   sha11
                                                                                                                                        shall  be disbursed
                                                                                                                                                  disbursed   to
                                                                                                                                                              to
       Client as
       Client   as Client's
                     Client's portion
                                portion of  of the
                                               the total
                                                    total recovery.
                                                             recovery. It It ii,, agreed and understood   understood that         aJ1medical
                                                                                                                           that all              bills/expenses
                                                                                                                                      medical bills/expenses
       incurred     by  the   Client    for
       incurred by the Client for medical    medical      treatment
                                                          treatment     and   s   ::vices
                                                                                 ::vices         : ~ndered
                                                                                                   endered      to
                                                                                                                to   the  Client
                                                                                                                          Client   remain
                                                                                                                                   remain     aIld are the sole
                                                                                                                                              and
       responsibility     of  the  Client,
       responsibility of the Client, and that and  that   said  medical   bill;,   'expen!\
                                                                medical bill ;.'expens !.s shall    ~s sha11  not
                                                                                                              not   be  deducted
                                                                                                                        deducted     from
                                                                                                                                     from   the
                                                                                                                                            the  amow1t finally
                                                                                                                                                 amount   fu1ally
       recovere~
       recovered, nor  nor reimbursed
                            reimbursed to    to the
                                                the Client
                                                      Client from
                                                               from the
                                                                      the am
                                                                           anl )urit
                                                                                  >unt finaiin(J:ly ly recovered,
                                                                                                        recovered, as they        shal1be paid
                                                                                                                           they shall        paid solely
                                                                                                                                                   solely by the
        Client's  portion    of
        Client's portion of any  a11y  recovery
                                       recovery      and/or
                                                    and/or     directly
                                                               directly  by
                                                                         by   tll'~
                                                                              ti b?.  Client          Attorneys
                                                                                                      Attorneys       shall have   no   responsibility
                                                                                                                                        responsibility   for
                                                                                                                                                         for the
        payment
        payment of  of any medical                  bill or expense.
                                          related bill
                             medical related                  expense.

       It is
       It  is agreed
              agreed and
                       and understood
                            understood that,
                                          that, if
                                                 if no
                                                     no recovery                          Attorneys are to
                                                          recovery i.j;, made, the Attorneys                   receive no attorney
                                                                                                           to receive          attorney fee
       whatsoever.     However,     regardless   ofwhether      or
       whatsoever. However, regardless of whether or nt. 1 reco ferynl,1   a  reco   rery is made,  the
                                                                                                    the  Client
                                                                                                         Client  agrees    to
                                                                                                                           to  pay  all court
                                                                                                                                        court
               incurred and all expenses incident
       costs incurred                       incident to        negol i ttion
                                                        to the negot      ltion 01    prosecution of
                                                                                 OJ prosecu.tion   of the suit,                   medica] or
                                                                                                           suit. such as any medical
       hospitalization   bills,
       hospitalization bills,   medical
                                medical reports,
                                        reports,    the
                                                    the  cost
                                                         cost ofpho
                                                              of pho    , )graph~
                                                                          )z-aph:      maps,
                                                                                     .maps,   diagrams,  records,  investiaation
                                                                                                                   investigation     services,
                                                                                                                                     services.
       travel expenses incurred,
       travel             incUrTed, photocopies,
                                      photocopies, postage,
                                                       postage, shi     }ping cF
                                                                   sill )ping    cr, irges,  telephone expenses, witness
                                                                                     irges, telephone                 witness fees, court
                                                                                                                                        coul1
       reporter fees,
       reporter   fees, per  the fee schedule
                        per the      schedule executed
                                                executed by Chen,
                                                                Clien .~ as samsan13~ may change fromfrom time   to time.
                                                                                                           tiIne to  time. All1\11such costs
       and expenses
       and   expenses shall
                        shall be
                              be advanced
                                 advanced by by Client
                                                CJient to to HEIDE
                                                             HEmE \\ [AN  fAN LI     :ZELL NLTDELMAN
                                                                                 LJ ZELL      NUDEI"NLA.N- &   & KALIK,
                                                                                                                  KALIK. P.C.  p .c. Escrow
                                                                                                                                      Escrow
        ."\ccount for
        Account    for payment       advance or
                       payment in advance          immediately up JQbeing
                                               or immediately                         incurred or upon
                                                                             beint' incurred              receipt of
                                                                                                   upon receipt        billing therefore.
                                                                                                                    afbilling    therefore.

        It is
        It is agreed
              agreed andand understood
                             understood that
                                          that Steven
                                                Steven R.
                                                        R. Perles,
                                                             PerJes, 1 ~q. q. of      le Perles Law
                                                                                ofT'I ie          La"". Firm,    P.C., and Russell
                                                                                                        Firm. P.C.,                 F.. Ellis,
                                                                                                                            Russell E.  "Ellis,
        Esq. will
        Esq.   v.-ill serve as Of
                               Of Counsel        this matter.
                                    Counsel on this   matter. All        )unsel ',), ill
                                                                 All C iunsel         ill give  equal services and effort
                                                                                          give equal                    effort and will
                                                                                                                                   will each
        receive    1/3  (one-third)
        receive 1/3 (one-third) of   of attorneys
                                        attorneys   fees. It
                                                          It  is furtin
                                                                 furth~  z
                                                                         J  agreec
                                                                            agreec     and   understood
                                                                                             understood     that
                                                                                                            that  Attorney
                                                                                                                  Attorney   may, in its sole
         discretion~ engage the
        discretion,            the services
                                    services of
                                              of co-counsel
                                                 co-counseI at no a,  allIlitional
                                                                           iitional cost to  10 the plaintiff,  but that no representation is
                                                                                                    plaintiff, but
        made as to  to which
                        which attorney
                              attorney or  paralegal at Heideman
                                        or paralegal      HeJdeman L.Lezell        IN idelman
                                                                            eze:ll'N  jdelman &  & Kalik,
                                                                                                    Kalik, P.C.
                                                                                                             p ,C. may render
                                                                                                                         render services,
                                                                                                                                services. nor
        which additional co-counsel, if
        which    additional   co-counsel,      any,
                                            ifany~  may   be   engaged
                                                               engage(1

        The Attorneys
        The   Attorneys accepts
                            accepts the    representation under
                                      the representation                    condit ons set forth
                                                             under th ~ condit                     1:orth herein,   but it is understood
                                                                                                          herein, but          understood and
        agreed that
                 that after       Attorneys have reviewed
                             the Attorneys
                       after the                     reviewed thethe Ci
                                                                      CJ ent's
                                                                         (:nt's cla
                                                                                 cIa m,    or if
                                                                                      rn" or      the Attorneys
                                                                                               if the  Attorneys finds     the defendant is not
                                                                                                                    finds the
        insured. or
        insured,   or that collection
                            collection of       judgment will
                                         of any judgment          Iikel t)rove
                                                            willlikel)    I)rov~ n t\ be impossible,
                                                                                           inlpossible, or  or for
                                                                                                                for other
                                                                                                                    other reasons determined
                                                                                                                                    deteT1Tljned
                     opinion of
        in the sole opinion     of Attorneys,
                                   Attomeys, the     Attorneys may ti t1en decl ne to
                                                the Attorneys                             to further
                                                                                              further represent
                                                                                                         represent the    Client" terminate
                                                                                                                      the Client, tern1inate the
                                                                                                                                             tile
        contra.ct and/or
        contract              declare this
                    and/or declare           Contract of
                                       this Contract     of Employm
                                                            Employm !at        null Ind
                                                                         ~~t null     md void.
                                                                                            void. In   In the
                                                                                                           the event of of termination
                                                                                                                            termination of
                                                                                                                                         of the
        contract for
        contract   for any reason,
                             reason,. Attorneys
                                       Attorneys shall be compen&
                                                            compens, tIed by ( tient         for services
                                                                                      {jent for     services rendered on  Onan hourly
                                                                                                                                hourly basis per
        the Attorney's
        the  Attorney's fee schedule,
                                schedule, whether
                                            whether or or not  client ut ij izes an i1 work
                                                          not client                    work product
                                                                                                  product from
                                                                                                             from Attorney,          only in the
                                                                                                                    Attorney, but only
         event client
                client obtains
                        obtaillS a recovery
                                    recovery on thethe case directly
                                                              directly II) --throu:
                                                                             throtn ;h another attorney.
                                                                                      ;!1another      attorney.
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FROM:  ELLIS                              Case 1:21-cv-03186-RCL
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                 '\.        L '  •             ~'-djv~                   Li..~                                 tan Lezell
                                                                                                       Heidei Ian
                                                                                                       Hcidel                                  .(~"
                                                                                                                                      Kalik, pP.C.
                                                                                                                          Nudelman && Kalik"
                                                                                                                   Lezell Nudelman
    Julie* 'in individually
    ~~-;8~~1~di        vi j~J~~ and
    On b`
    On  b~JQftheof the  ESTATE of
                       ESTATE      of                                                                  B y .-~~~"'--
          Botvin
    Yael Botv:in
    Yael                                                                                                    Rj       D. I-Ieidernan
                                                                                                               ;hard D.
                                                                                                            Ri ;hard     Heideman
        Masaryk Street
    #7 Masaryk
    #7             Street
    93106
    93106   Jerusalem,
           Jerusalem,      ISRAEL
                          ISRAEL


                                                                                                              Perles Law
                                                                                                          The Perles
                                                                                                          The                    .C
                                                                                                                         Firm, pP.C.
                                                                                                                     Law Firm"

                                                                                                        By:
                                                                                                        By:   Steven R. Perles
                                                                                                               Steven R. Perles



                                                                                                          Th\ Law Office
                                                                                                          Th( Law        of Russell
                                                                                                                  Office of         E. Ellis
                                                                                                                            Russell E. Ellis


    By:
    By:
                                                                                                               Russell E. Ellis
                                                                                                               Russell E. Ellis


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